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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA ex rel.,
 STEPHEN A. KRAHLING and JOAN A.                   Civil Action No. 10-4374 (CDJ)
 WLOCHOWSKI,
                  Plaintiffs,
            v.
 MERCK & CO., INC.,
                  Defendant.


 IN RE: MERCK MUMPS VACCINE                        Master File No. 12-3555 (CDJ)
 ANTITRUST LITIGATION

 THIS DOCUMENT RELATES TO:
 ALL ACTIONS


                                    [PROPOSED] ORDER

       AND NOW, this ____ day of _________ 2019, upon consideration of the motion of

Defendant Merck Sharp & Dohme Corp., formerly known as Merck & Co., Inc., (“Merck”)

requesting permission to file under seal Merck’s Letter in Response to Plaintiffs’ Third Letter in

Further Support of the Pending Motion to De-Designate and Unseal Portions of the Deposition of

Dr. David Kessler, IT IS HEREBY ORDERED that the motion is GRANTED and that Merck’s

Letter shall be filed under seal.

       SO ORDERED.

                                               BY THE COURT



                                               HONORABLE LYNNE A. SITARSKI
                                               UNITED STATES MAGISTRATE JUDGE
